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                                                                          No. 22-0305

                                                            UNITED STATES COURT OF APPEALS
                                                                 FOR THE SIXTH CIRCUIT


                                   In re: E. I. DU PONT DE NEMOURS AND
                                   COMPANY C-8 PERSONAL INJURY
                                   LITIGATION

                                   In re: 3M COMPANY, et al.,

                                         Petitioners.




                                                        Before: GUY, DONALD, and BUSH, Circuit Judges.

                                                                       JUDGMENT

                                                               On Petition for Permission to Appeal.
                                            United States District Court for the Southern District of Ohio at Columbus.

                                          THIS MATTER was heard on the record and pleadings without oral argument. In
                                   accordance with the Order entered on this date and incorporated herein,

                                       IT IS HEREBY ORDERED that Defendants’ Petition for Permission to Appeal is
                                   GRANTED.

                                                                             ENTERED BY ORDER OF THE COURT




                                                                             Deborah S. Hunt, Clerk




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